Case 24-50792-hlb Doc 1049 Entered 12/18/24 15:29:28 Page 1of1

NVB 3001 (Rev. 12/24)
UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF NEVADA 41010) 06

Name of Debtor: Case Number:

neta matters G mmarltP24-F° 74 ZMWbL
1. Name and address of holder of the Equity Interest .

(the person or entity holding an Equity Interest in the 0 Check box if you are aware that

Debtor, Referred to hereinafter as the “Interest anyone else has filed a proof of

oy. interest relating to your interest.
holder”): Attach copy of statement giving RECEIVED

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S996 secduded © received any notices from they §) BANKRUPTC
‘U, Y COURT
Lstbera, GA BoolF fn thie caee en PP P*MARY A. SCHOTT, CLERK

Telephone Number:
O Check box if this address

Y 0 Y Zl oO 2? b UY differs from the address on the
envelope sent to you by the

Debtors. COURT USE ONLY

* form should be used for that purpose. This form should only be used to assert ‘an: Equity Iniorest i in 1 the Debtor. An Equity
interest-is any tight arising from any capital stock’and any. equity security in any of the Debtor.An equity security is‘defined
in the’ Bankruptcy Code as {a} a share:in a corporation whether or not transferable or denominated stock or: similar’
security; (b) interest of-a limited partner i in a limited partnership, or (c) warrant or right other than aright to convert; to

; purchase, sell, or, subscribe to: a share, security, or interest of 3. kind specified f in subsection (a) or (b) herein. of lth es

Account ¢ or other number by which interest holder identifies Debtor (ast 4] Cc neck here if this Proof of Interest:
digits only): O1 replaces a previously filed Proof of Interest dated:

Sch, wal acer / G 4 <2. Y GO BG O amends a previously filed Proof of Interest dated:

2. Name and Address of any person or entity that is the record 3. Date Equity Interest was acquired:
holder for the Equity Interest asserted in this Proof of {0 / 3) { Ziz2e go oO oO 4 %, Y/ Ss. Se
Interest: (, ¢ i és scluea fe / Ze 2 ge a @ 3,3 OS, Qf

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4. Total amount of member interest: S Zoo x, res 5. Certificate number(s):

Ww

6. Type of Equity Interest:
Please indicate the type of Equity Interest you hold:
O Check this box if your Equity Interest is based on an actual member interest held in the Debtor.

heck thjg box if your Equity Interest is based on ae else and oe thati mere oD
Description, DUCES OF Stock pri deace d (27,373 SS. S

7. Supporting Documents: Attach copies of supporting documents, such as stock certificates, option agreements, warrants, etc.
DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain, If the documents are voluminous, attach a summary.

8 Date-Stamped Copy: To receive an acknowledgement of the filing of your Proof of Interest, enclose a stamped, self-addressed envelope and
copy of this Proof of Interest, MH, OSe

9. Signature:
Check the appropriate box.

am the interest holder. © I am the interest holder’s authorized agent. 1am the trustee, or the debtor, | C11 am a guarantor, surety,
(Attach copy of power of attorney, ifany.) or their authorized agent. endorser, or other
' (See Bankruptcy Rule 3004.) codebtor.

(see Bankruptcy Rule 3005.)
I declare under penalty of perjury that the information provided in this proof of interest is truc and correct to the best of my knowledge, information, and reasonable belicf.
—
Print Name: f2- OLY ect im. va CES On
Title: madived sal fave opel 2G FST
Company:__ Address and telephone number (if different from notice /2 / f 3 ZA
address above): LZ. (Date)
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Telephone wher email:
ODN AIC
Penalty for presenting fraudulent claim is a fine af up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 AND 3571

